Case 1:21-cr-00399-RDM Document 120-3 Filed 05/18/23 Page 1 of 3




         Exhibit 3
 Case 1:21-cr-00399-RDM Document 120-3 Filed 05/18/23 Page 2 of 3

                                                                            Tor Ekeland
                                                                            Managing Partner

                                                                            (718) 737 7264
                                                                            tor@torekeland.com




                                         May 3, 2023

Via Email

Brian P. Hudak
Chief, Civil Division
United States Attorney’s Office District of Columbia

Patrick Henry Building
601 D Street, NW
Washington, DC 20530

brian.hudak@usdoj.gov

Re: United States v. Roman Sterlingov, Crim. No. 21-0399 (RDM) (D.D.C.)
    Subpoena for Testimony Issued to Catherine Alden Pelker

Brian,

        Thank you for your letter of March 23, 2023. As to Ms. Pelker, she is a material
fact witness in this matter. She is an FBI investigator on this case for years and one of Mr.
Sterlingov’s accusers under the Sixth Amendment to the United States Constitution. Ms.
Pelker works this case in Philadelphia before she graduates law school, before she becomes
a lawyer, and before she is appointed a prosecutor on this case. She is instrumental in
moving it to Washington D.C., and an integral witness to the constitutional venue issues.

        As for Touhy, an administrative regulation cannot abrogate Mr. Sterlingov’s Sixth
Amendment right to confront his accusers. Nor can it usurp his Sixth and Fifth
Amendment rights not to disclose his defense strategy until trial. Touhy involves a
collateral appeal through civil habeas corpus after exhaustion of direct appeal. This
procedural posture is on the opposite end of a case yet to go to trial like Mr. Sterlingov’s.

       The Department seeks to deny Mr. Sterlingov his right to confront the most
knowledgeable witness to the initiation, transfer, and course of this investigation. Cross-
examination of Ms. Pelker is critical to Mr. Sterlingov’s defense. She is involved in the
Department’s hiring of Chainalysis Inc. and works with Chainalysis extensively
throughout this investigation. Chainalysis’s forensics are foundational to the government’s
case. She is in communication with Chainalysis from the beginning, before becoming a
prosecutor. That is just one aspect of her extensive role in this investigation.




                         30 Wall Street, 8th Floor ▪ New York, NY 10005
                                     www.torekeland.com
 Case 1:21-cr-00399-RDM Document 120-3 Filed 05/18/23 Page 3 of 3




       Ms. Pelker is a material fact witness. She is not being called by the Defense in her
capacity as a prosecutor. However, given the fact that she is both a prosecutor and a
material fact witness, the Department should withdraw her from this case to avoid
confusing the jury as to whether she is a witness or an advocate. Ms. Pelker has knowledge
to which no one else can testify to. Under the Sixth Amendment’s Confrontation Clause,
Mr. Sterlingov has the right to confront Ms. Pelker, and under the Sixth and Fifth
Amendments the government cannot compel him to reveal his defense strategy pre-trial
under the guise of an administrative regulation instantiated by the Department itself.

       We are happy to discuss this with you further.


Sincerely,

Tor Ekeland

Michael Hassard




                        30 Wall Street, 8th Floor ▪ New York, NY 10005
                                    www.torekeland.com
